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                              UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                    WILKESBORO DIVISION

IN RE:
         JOSE J SANTILLAN-RAMOS                              Chapter 13
         SANDRA B SANTILLAN-RAMOS
                                                             Case No.     08-50011
SSN# :   XXX-XX-1377
SSN# :   XXX-XX-9323        DEBTORS



                        CHAPTER 13 TRUSTEE'S REPORT OF COMPLETION
                                     OF PLAN PAYMENTS


Steven G. Tate, Chapter 13 Trustee, reports to the Court that the above -named debtors have made all
payments to the Chapter 13 Trustee as required by the confirmed Chapter 13 plan.



Dated: March 07, 2013                                        STEVEN G. TATE
                                                             Standing Chapter 13 Trustee
                                                             212 Cooper St
                                                             Statesville, NC 28677-5856


                                     CERTIFICATE OF SERVICE
The parties whose names and addresses are listed below were served by United States first class mail,
postage prepaid.

JOSE J SANTILLAN-RAMOS, SANDRA B SANTILLAN-RAMOS, 2483 BOONE TRAIL, NORTH
WILKESBORO, NC 28659

                                                                             S. Henderson
                                                                             Chapter 13 Trustee Office
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               INSTRUCTIONS REGARDING CHAPTER 13 DISCHARGE

To the Debtor and the Attorney for the Debtor:


The Chapter 13 Trustee has filed a Report of Completion of Plan Payments.

     You are hereby notified that, pursuant to the Bankruptcy Code & Rules,
     and Administrative Order, IF YOU BELIEVE YOU ARE ENTITLED TO A
     DISCHARGE, you must prepare, sign, file, and serve on your creditors a
     DEBTOR’S MOTION FOR ENTRY OF DISCHARGE AND CERTIFICATION
     REGARDING PLAN COMPLETION (Local Form 8).

     These documents must be signed, filed and served on your creditors
     within 60 days of the file date of the Trustee’s Report.



Failure to file and serve the required documents timely could result in the closing of the
case without a discharge.

If you have Domestic Support Obligations, you must prepare, sign and mail to the Chapter
13 Trustee a form Debtor’s Disclosure of Information Regarding Domestic Support
Obligations (Local Form 9).

Local Form 8, Motion for Entry of Discharge and Certification Regarding Plan Completion,
can be obtained from the Court’s web site at www.ncwb.uscourts.gov

Local Form 9, Debtor’s Disclosure of Information Regarding Domestic Support Obligations,
can be obtained from the Court’s web site at www.ncwb.uscourts.gov


Your rights may be affected. You should read these papers carefully and discuss
them with your attorney if you have one in this Chapter 13 case. If you do not have
an attorney, you may wish to consult with one.



                                                       STEVEN G. TATE
                                                       Standing Chapter 13 Trustee
                                                       212 Cooper St
                                                       Statesville, NC 28677-5856
                                                       (704) 872-0068
